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                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

CHRISTOPHER MARK PARIS, and                                           CASE # 8:19-cv-00423
OXEBRIDGE QUALITY RESOURCES
INTERNATIONAL, LLC

Plaintiffs

v.

WILLIAM LEVINSON,
et al.

Defendants

________________________________/


                        NOTICE OF FILING CIVIL COVER SHEET

        COMES NOW the Plaintiffs, Christopher Mark Paris and Oxebridge Quality Resources
International, LLC, through undersigned counsel, and files this notice of filing civil cover sheet.

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and complete copy of this document was
electronically filed with the clerk of courts in Middle District of Florida on the 19th day of
February 2019.

                                              Respectfully submitted,

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                                              /s/Glen H. Shrayer

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